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6                                    UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF WASHINGTON
7                                               AT SEATTLE
8
     In Re:
                                                        Case No. 22-11270-MLB
9
     Derek Allen Watson and Megan Melissa
     Watson,                                            Chapter 13
10

11                                 Debtors.
                                                        DECLARATION OF DAVID HUYNH
12

13

14

15            I, David Huynh, hereby declare as follows:
16            1.        I am over the age of 18 and am a real estate broker, licensed by the State of
17   Washington. I have been a real estate broker for more than 30 years and have inspected and
18   viewed hundreds if not thousands of properties. I make this declaration based my personal
19   knowledge including my expertise in assessing the value of real estate properties.
20            2.        I was retained by the law firm Lagerlof, LLP to provide a Residential Broker
21   Price Opinion for the property located at 17520 Marine Dr., Stanwood, Washington 98292 (the
22   “Property”).
23            3.        On October 22, 2021, I visited and inspected the Property. I walked around the
24   Property and observed the house located on it. Based on my observation, the Property was
25

     {100047/002330/00631822-1 }                                        LAGERLOF LLP
     DECLARATION OF DAVID HUYNH -1                                   701 PIKE STREET, SUITE 1560
                                                                         SEATTLE, WA 98101
     CASE NO: 22-11270-MLB
     Case 22-11270-MLB                Doc 30   Filed 09/26/22   Ent. 09/26/22  11:21:00
                                                                       PHONE: 206-492-2300         Pg. 1 of 6
1    vacant and no one was living there. I observed that the heat pump and HVAC unit had been

2    removed and the lawn was overgrown. It appeared to me that no one had occupied the house

3    for many months.

4             4.        Attached hereto as Exhibit 1 is a true and correct copy of the Residential

5    Broker Price Opinion (“Price Opinion”) for the Property that I provided Lagerlof, LLP dated

6    May 2, 2022. This document accurately reflects my conclusions regarding the Property

7    including its market value which I assessed to be $900,000.

8             5.        Subsequent to the date of the Price Opinion, the average real estate property sale

9    prices have declined by approximately 9%. Accordingly, and provided that the Property is in a

10   similar condition as of the date of my Price Opinion, I now assess the Property’s market value

11   to be reduced by approximately $81,000 as of the date of this declaration to account for the

12   change in property prices in the overall real estate market. This would result in the Property’s

13   market value to be reduced to $819,000.

14            6.        Generally, the cost of selling a property such as the Property for the real estate

15   is 1.78% for state and local excise taxes, 5% for real estate broker fees, $2,200 for title

16   insurance, $1,350 for escrow fees, and $350 for other taxes and miscellaneous fees.

17   Accordingly, I estimate the cost of selling the Property to be $59,428.20. Based on this amount

18   and the Property’s reduced market value of $819,000, I estimate the net proceeds from the sale

19   of the Property to be $759,571.80 before taxes.

20   I DECLARE UNDER THE PENALTY OF PERJURY FOR THE LAWS OF THE UNITED

21   STATES THAT THE FOREGOING IS TRUE AND CORRECT.

22            EXECUTED this 22nd day of September 2022 at Orondo, Washington.

23
                                                       s/ David Huynh
24
                                                      David Huynh
25

     {100047/002330/00631822-1 }                                        LAGERLOF LLP
     DECLARATION OF DAVID HUYNH -2                                   701 PIKE STREET, SUITE 1560
                                                                         SEATTLE, WA 98101
     CASE NO: 22-11270-MLB
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                                                                       PHONE: 206-492-2300         Pg. 2 of 6
                    EXHIBIT 1

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                                             RESIDENTIAL BROKER PRICE OPINION
 Loan #

  REO #:                                 This BPO is the £3 Initial           2nd Opinion            Updated               Exterior Only                 DATE            May 2nd, 2022

  PROPERTY ADDRESS:                          17520 Marine Dr.                                        SALES REPRESENTATIVE:

                                     Stanwood, WA 98292                                              CLIENT NAME:                                   Watson

  FIRM NAME:                         NextHome Preview Properties                                     COMPLETED BY:                                  David C Huynh

  PHONE NO.                          (360)708-1040                                                   FAX NO.                                        (360)848-1747


  I.      GENERAL MARKET CONDITIONS
          Current market condition:                                    Depressed                              Slow                                 Stable       D
                                                                                                                                                                I     Improving                        Excellent

          Employment conditions:                                       Declining                              Stable                               Increasing

          Market price of this type property has:                      Decreased                                           %      in past                              months

                                                             KI        Increased               5                           %      in past           12                 months

                                                                       Remained stable

          Estimated percentages of owner vs. tenants in neighborhood:                                                                  % owner occupant                                            % tenant

          There is a                Normal supply                    oversupply                             shortage of comparable listings in the neighborhood

          Approximate number of comparable units for sale in neighborhood:                                             0

          No. of competing listings in neighborhood that are REO or Corporate owned:                                   0

          No. of boarded or blocked-up homes:                                                                          0



  II.     SUBJECT MARKETABILITY
          Range of values in the neighborhood is $                   500,000                         to $      2,000,000

          The subject is an          KI over improvement                           under improvement                           ”       Appropriate improvement for the neighborhood.

          Normal marketing time in the area is:                          5                days.

          Are all types of financing available for the property?                                   Yes          No             If no, explain

          Has the property been on the market in the last 12 months?                               Yes          No             If yes, $                            list price (include MLS printout)

          To the best of your knowledge, why did it not sell?

          Unit Type:        KI single family detached                    condo                     co-op                          mobile home
                              single family attached                     townhouse                 modular

          If condo or other association exists: Fee $                     monthly               annually       Current?            Yes                   No     Fee delinquent? $

          The fee includes:          O       Insurance               Landscape                      Pool                       Tennis                           Other

          Association Contact:               Name:                                                                                                              Phone No.:



   HL COMPETITIVE CLOSED SALES
              ITEM              |           SUBJECT               COMPARABLE NUMBER 1                              COMPARABLE NUMBER 2                                     COMPARABLE NUMBER 3

  Address                           17520 Marine Dr.         2675 SE Camano Dr                                 2631 SE Camano Dr                                       4854 S Camano Dr

   Proximity to Subject                                                3mi REO/CorpD                                       3mi REO/CorpD ~                                      4mi REO/CorpD ~
  Sale Price                         $                               | $ 1,100,000                                           | $ 1,175,000 ~                                     | $ 1,215,000 ~
  Price/Gross Living Area            $ 65 Sq. Ft.            $ 65 Sq. Ft.    |                                 $65 Sq. Ft.                     |                       $ 65 Sq. Ft.                |
  Sale Date &                                                                 10/28/21                                                 3/23/22                                             12/21/21
   Days on Market                                                                    2                                                    6                                                    11

  VALUE ADJUSTMENTS                                                                       +(-) Adjustment                                           +(-) Adjustment                                        +(-) Adjustment
                                      DESCRIPTION            DESCRIPTION                                         DESCRIPTION                                            DESCRIPTION

  Sales or Financing
                                                             none                         0                    none                                 0                   none                           0
  Concessions

   Location                          Excellent               Excellent                    0                    Excellent                            0                   Excellent                      0

   Leasehold/Fee Simple              FS                      FS                           0                    FS                                   0                   FS                             0

  Site                               2.1 ac                  1.4 ac                       0                     1.9 ac                              0                   .5 ac                          100000

  View                               Excellent               excellent                    0                    excellent                            0                   excellent                      0

   Design and Appeal                 Good                    good                         0                    good                                 0                   good                           0

  Quality of Construction            very good               very good                    0                    Very good                            0                  very good                       0

  Age                                2017                    2018                         0                     1957                                100000              1999                           0

  Condition                          good                    Very good                    -50000               good                                 0                  Very good                       -50000
                                    Total   Bdms     Baths   Total     Bdms       Baths                        Total       Bdms        Baths                            Total   Bdms       Baths
  Above Grade
   Room Count
                                    7o~             y        — y y                        15000                            1           y            15000              — y y                           15000

  Gross Living Area                  4202 Sq. Ft.            3384 Sq. Ft.                 53170                 2096 Sq. Ft.                        136890              3471 Sq. Ft.                   47515
   Basement & Finished
                                     2001sqft                none                         90045                none                                 90045               none                           90045
   Rooms Below Grade

   Functional Utility                Good                    Good                         0                    Good                                £                    Good                           0

   Heating/Cooling                   Elec H/P                elec h/p                     0                    Gas f/a                             £                    elec H/P                       0

   Energy Efficient Items            windows                 windows                      0                    windows                             £                   windows                         0

  Garage/Carport                     3 car gar               2 car gar                    -5000                3 car gar                            0                   none                           20000

   Porches, Patio, Deck
                                     Deck                    deck                         0                    deck                                 0                   deck                           0
   Fireplace(s), etc.

   Fence, Pool, etc.                 none                    none                         0                    none                                 0                   none                           0

  Other                              high bankw/f            high bankw/f                 0                    high bankw/f                         0                   high bankw/f                   0

   Net Adj, (total)                                                           -           $ 103215                                 -                $341935                            -               $222560

  Adjusted Sales Price of                                                                                                                           $1,516,93
                                                                                          $1,203,215                                                                                                   $1,437,560
  Comparable                                                                                                                                        5



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 REO#                                                                                                                                   Loan #


 IV. MARKETING STRATEGY                                                         Occupancy Status:                     Occupied           Vacant               Unknown

     £3 As-is          Minimal Lender Required Repairs                              Repaired             Most Likely Buyer: KI Owner occupant £3 Investor

 V. REPAIRS
    Itemize ALL repairs needed to bring property from its present “as is” condition to average marketable condition for the neighborhood.
    Check those repairs you recommend that we perform for most successful marketing of the property.


           See remarks                                                  $                                                                                                        $
                                                                        $                                                                                                        $
                                                                        $                                                                                                        $
                                                                        $                                                                                                        $
                                                                        $                                                                                                        $

                                                  GRAND TOTAL FOR ALL REPAIRS $


  VI. COMPETITIVE LISTINGS
               ITEM                |     SUBJECT                   COMPARABLE NUMBER 1                                  COMPARABLE NUMBER. 2                             COMPARABLE NUMBER. 3
               17520 Marine Dr.
  Address
  Proximity to Subject                                                                 REO/CorpD                                        REO/CorpD                                      REO/CorpD
  List Price                  £                                                         I $                                                I s                                             l$
  Price/Gross Living Area      $              Sq.Ft.           $              Sq.Ft.                                              Sq.Ft.                                         Sq.Ft.

  Data and/or
  Verification Sources
  VALUE ADJUSTMENTS                    DESCRIPTION                     DESCRIPTION                  + (-)Adjustment        DESCRIPTION                +(-)Adjustm ent       DESCRIPTION           +(-)Adjustm ent



  Sales or Financing
  Concessions

  Days on Market

  Location                     Excellent

  Leasehold/Fee
                               FS
  Simple

  Site                         2.1 ac

  View                         Excellent

  Design and Appeal            Good

  Quality of Construction     very good

  Age                          2017

  Condition                    good
                              Total       Bdms         Baths   Total         Bdms      Baths                           Total     Bdms      Baths                        Total   Bdms      Baths
  Above Grade
  Room Count                  To"         4            s-
  Gross Living Area                      4202Sq. Ft.                                Sq. Ft.                                             Sq. Ft.                                        Sq. Ft.

  Basement & Finished
                               2001sqft
  Rooms Below Grade

  Functional Utility           Good

  Heating/Cooling              Elec H/P

  Energy Efficient Items      windows

  Garage/Carport               3 car gar

  Porches, Patio, Deck
                               Deck
  Fireplace(s), etc.

  Fence, Pool, etc.            none


  Other                        high bank w/f

  Net Adj. (total)                                             + -                             $0                      + -                       $0                     +       -            $0

  Adjusted Sales Price
                                                                                               S                                                 $                                           $
  of Comparable




 VI. THE MARKET VALUE (The value must fall within the indicated value of the Competitive Closed Sales).



                                                                            Market Value                                        Suggested List Price
                                         AS IS                              $ 900,000                                           $ 900000

                                         REPAIRED                           $ 1,450,000                                         $ 1,450,000


                                         Last Sale of Subject,                 Price $ ,                 Date n/a


 COMMENTS (Include specific positives/negatives, special concerns, encroachments, easements, water rights, environmental concerns, flood zones, etc.
                     Attach addendum if additional space is needed.)




  Unique custom home situated on 70ft of high bank saltwater frontage with westerly views. I am unable to determine the overall
  condition of the interior, but seeing the Heat pump missing as indicated in the attached pictures, I would assume all interior appliances
  and/or fixtures are probably missing as well. This is one of the newer homes in this area and is very unique in design from adjacent
  homes, but, the neighboring homes are all very nice, and well kept homes.
  As is typical in this market, at the time of this BPO, there were no active listings, and what few sold comps I found are across the
  narrow bay on Camano Island.




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  Signature:   David C Huynh                                 Date:



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